                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

SPECTRUM LABORATORIES,                     §
LLC., an Ohio Limited Liability            §
Company.                                   §
                                           §    CIVIL ACTION NO. 4:22-cv-03705
       Plaintiff,                          §
                                           §    JUDGE CHARLES ESKRIDGE
v.                                         §
                                           §           JURY DEMAND
DOES #1-10,                                §
                                           §
       Defendants.                         §

                    PLAINTIFF’S MOTION TO COMPEL DISCOVERY

        SPECTRUM LABORATORIES, LLC (hereinafter “Plaintiff” or “Spectrum”)

files this Motion to Compel Discovery from Non-Party URZ Trendz, LLC (“URZ”) in

response to Spectrum’s Subpoena.

                                      SUMMARY

        Acting with this Court’s leave to serve non-party discovery aimed at identifying

the proper defendants in this action, Spectrum served subpoenas on suspected suppliers

of products that are counterfeits of Spectrum’s QUICK FIX product. All suppliers

responded to the subpoenas and produced documents except for URZ, which instead

asserted invalid boilerplate objections, and refused to produce any document or comply

in any manner with the requests. Spectrum’s repeated, good faith attempts to conference

with counsel on resolving this dispute without Court intervention have failed. URZ

initially refused to respond to Spectrum’s repeated requests for conference. After finally

agreeing to a conference, URZ agreed to produce documents after entry of a Protective


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Order and receipt of an amended subpoena. Even after those conditions were satisfied,

URZ has still failed to produce documents or respond to Spectrum’s additional requests

for conference. The Court should overrule URZ’s objections and compel the discovery

Spectrum seeks.

                             PROCEDURAL BACKGROUND

        This is a counterfeiting case under the Lanham Act in which Spectrum seeks

damages, profits, and injunctive relief from one or more infringers of Spectrum’s QUICK

FIX and Q-CLOCK marks and counterfeiters of Spectrum’s QUICK FIX product. The

procedural background of this case has pertained to Spectrum’s efforts to quickly identify

the proper defendants responsible for the counterfeits.

        On January 23, 2023, the Court granted leave for Spectrum to amend its pleadings

to drop the originally named defendants and to add unknown parties, Defendants DOES

#1-10 (“DOE Defendants”).

        On February 2, 2023, the Court granted leave for Spectrum to conduct discovery

to determine the identities of the DOE Defendants, who engaged in the counterfeiting

activity that is the basis of this lawsuit.

                            BRIEF FACTUAL BACKGROUND

        Spectrum filed this lawsuit when it discovered that counterfeits of its QUICK FIX

product were being sold by Royal Fragrances LLC d/b/a City Supply Wholesale (“RF”).

Spectrum originally named as defendants the individuals and businesses that Spectrum

believed were associated with RF’s City Supply business. After RF and related parties

were served, RF’s attorney advised Spectrum that RF had no knowledge that it was


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selling counterfeits, RF stopped selling the products, and RF agreed to cooperate with

Spectrum to help identify the source of the counterfeits that RF purchased (believing they

were genuine) and then resold in the market. Since then, Spectrum has voluntarily

dismissed all of the defendants except the DOE Defendants [see Doc. 30] based on a

sworn affidavit provided by RF’s owner disclaiming any prior knowledge of the

counterfeiting and indicating those believed to be responsible for these counterfeit

products.

        Spectrum knows that its QUICK FIX product is being counterfeited. With the

cooperation of RF, Spectrum has learned the names of the several different suppliers

from whom RF believed it obtained the counterfeit “QUICK FIX” product.

        In accordance with the Court’s grant of leave to conduct discovery regarding the

identity of the infringers, Spectrum issued several subpoenas to the suppliers, including

URZ.      Spectrum’s subpoenas were narrowly tailored to information involving the

QUICK FIX product. While most suppliers timely responded without objection, URZ

responded with boilerplate objections and refused to produce documents. Spectrum’s

lawyers made multiple email requests and telephone calls to counsel for URZ who signed

those objections. URZ’s counsel, however, initially refused to respond to Spectrum’s

repeated requests to meet and confer about those objections and resolve any issues

without Court intervention. [Exs. 3 and 4, Conferencing correspondence regarding the

subpoena]. Tellingly, URZ’s counsel responded to Spectrum’s conferencing attempt with

legal argument stating (incorrectly) that Spectrum’s QUICK FIX mark was “invalid” but

gave no dates or times to meet and confer. [Ex. 3]. The defensive stance of URZ’s


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response, including: (1) arguing over the validity of Spectrum’s trademarks, (2) refusing

to produce discoverable information, and (3) refusing to meet and confer about the

requests in the subpoena, reads more like the response of an infringer, rather than an

innocent third party not involved in this counterfeiting scheme.       URZ’s stonewall

objections, refusal to comply with the meet-and-confer process, and merits-based

response underscores the importance of the discovery Spectrum seeks from URZ.

        When URZ’s counsel finally agreed to a conference, Spectrum understood that

URZ would respond to the subpoena if (1) the Court entered a Protective Order, and (2)

Spectrum served an amended subpoena which incorporated by reference the QuickFix

produced from Spectrum’s Complaint. [Ex. 4].

        Both conditions have been satisfied. On April 10, 2023, Spectrum’s counsel

provided the amended subpoena to URZ’s counsel. The Court entered the Protective

Order on April 18, 2023. On April 24, 2023, Spectrum’s lead counsel advised URZ’s

counsel that the Protective Order had been entered and requested production by April 28,

2023. Spectrum’s lead counsel further requested a time to conference if URZ still did not

intend to produce documents. As of the time of this filing, URZ’s counsel has not

responded or produced documents. Left with no choice, Spectrum files this motion to

compel URZ’s compliance with the subpoena.

                        ISSUES REQUIRING RESOLUTION

        The sole issue before the Court is whether URZ should be compelled to produce

documents in response to Spectrum’s subpoena. The Court’s grant or denial of a motion




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to compel is reviewed under an abuse of discretion standard. See Vann v. Gilbert, 482

Fed. Appx. 876, 878 (5th Cir. 2012).

                              ARGUMENT AND AUTHORITIES

A.      Spectrum’s subpoena to URZ seeks relevant and discoverable information.

        The party posing discovery may move to compel the disclosure of any materials

requested so long as such discovery is relevant and otherwise discoverable. See Fed. R.

Civ. P. 37. Materials and information are discoverable if they are “relevant to any party's

claim or defense” or if they “appear[ ] reasonably calculated to lead to the discovery of

admissible evidence.” Fed. R. Civ. P. 26(b)(1). The moving party bears the burden of

showing that the materials and information sought are relevant to the action or will lead

to the discovery of admissible evidence. Mata v. Caring For You Home Health, Inc., No.

7:13-CV-287, 2014 WL 12601094, at *1 (S.D. Tex. Aug. 14, 2014) (R. Crane). Once the

moving party establishes that the materials requested are within the scope of permissible

discovery, the burden shifts to the party resisting discovery to show why the discovery is

irrelevant, overly broad, or unduly burdensome or oppressive, and thus should not be

permitted. Id.

        Spectrum seeks information from URZ, an alleged upstream supplier of

counterfeit products illegally sold under the Quick Fix1 mark. Spectrum sought the

following categories of documents from URZ:




1
 References in this section to “Quick Fix” in its uncapitalized form are for purposes of readability and to
match URZ’s responses, and not intended or to be construed as a disclaimer of Spectrum’s rights in the
QUICK FIX mark.


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        1.        All Communications since 1/1/2020 with any suppliers or sellers of
                  Quick Fix regarding Quick Fix;
        2.        All Communications since 1/1/2020 with any customers or buyers of
                  Quick Fix regarding Quick Fix;
        3.        All internal Communications since 1/1/2020 regarding Quick Fix;
        4.        All Documents (including Communications) created, modified, sent,
                  or received since 1/1/2020 regarding fake, knock-off, imitation, or
                  counterfeit Quick Fix;
        5.        All invoices documenting Your sales of Quick Fix since 1/1/2020;
        6.        All invoices documenting Your purchases of Quick Fix since
                  1/1/2020;
        7.        Ten randomly selected samples of Quick Fix from Your inventory
                  for inspection; and
        8.        All Communications with Royal Fragrances, City Supply Wholesale,
                  or Saif Ali regarding Quick Fix, imitation Quick Fix, or this lawsuit.

[Ex. 1, Spectrum’s Subpoena].

        Each of these categories of requested documents is relevant, reasonably calculated

to lead to the discovery of admissible evidence, narrowly tailored as to scope and

timeframe, and is not in any way overly broad or unduly burdensome.

        For example, Spectrum’s Request Nos. 1 & 2 for communications between URZ

and any suppliers, sellers, customers, and buyers regarding the Quick Fix product are

directly relevant to the liability of URZ and others in relation to the counterfeiting of the

Quick Fix product. Request No. 3 seeking internal URZ communications is relevant for

the same reasons.

        Request No. 4 is indisputably relevant. It seeks documents and communications

created, modified, sent, or received regarding fake, knock-off, imitation, or counterfeit

Quick Fix since January 1, 2020.




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        Likewise, Spectrum’s Request Nos. 5 & 6 for invoices for sales and purchases of

the Quick Fix product are directly relevant to damages incurred by Spectrum, and illicit

profits gained by URZ and others.

        Request No. 7 for random samples of the Quick Fix product sold by URZ is

directly relevant to whether or not the imposter Quick Fix products are indeed a

counterfeit of the Spectrum Quick Fix product. Also, this is not an undue burden as the

cost to comply with this request is under $100 of product.

        Moreover, Request No. 8 seeking communications between URZ and Royal

Fragrances, City Supply Wholesale, and Saif Ali (the originally named defendants who

acted as unknowing downstream sellers of the counterfeits) are directly relevant to URZ’s

business dealings involving counterfeit goods with its downstream customers.

        Any documents or samples responsive to the above requests are likely candidates

for admissible evidence in support of Spectrum’s claims. The information Spectrum

seeks from URZ is thus within the scope of discovery, and the burden shifts to URZ to

show why the discovery should not be permitted. See Mata, 2014 WL 12601094, at *1.

B.      URZ cannot meet its burden to show why discovery should not be permitted,
        and its objections should be overruled.

        URZ’s objections should be overruled because they are general, rote, boilerplate

objections and violate the Court’s procedures. URZ cannot establish its burden that the

requests are irrelevant, overly broad, or unduly burdensome or oppressive. See Mata,

2014 WL 12601094, at *1.




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        1.        URZ’s boilerplate “General Objections” violate the Court’s Procedures and
                  do not insulate URZ from complying with the law.

        At the outset, URZ’s objections begin with ten “General Objections” which

directly violate the Court’s Procedures. [Ex. 2, URZ’s Objections to Spectrum’s

Subpoena]; Court Procedures at Rule 13 (d) (“State only specific objections.” . . . “Don’t

state general or rote objections”).

        Further, URZ’s “General Objections” are mere boilerplate. For example, General

Objection No. 1 objects – without explanation – that the subpoena fails to take reasonable

efforts to reduce the burden and expense on a nonparty to the extent the records sought

are in the possession, custody, or control of the parties to the litigation. [Ex. 2, at General

Objection (“GO”) 1]. The sole identifiable party to the litigation is Spectrum. Spectrum

clearly does not have access to the requested URZ records. Spectrum also clearly does

not have access to the records of the unidentified DOE Defendants. Also, URZ made no

attempt to explain how these requests are burdensome or costly to respond to. URZ

counsel’s refusal to meet and confer only highlights the lack of merit to this objection.

The Court should overrule this boilerplate objection.

        URZ again objects without explanation that Spectrum’s requests for specific

communications “since 1/1/2020” and “ten randomly selected samples” are overbroad

and burdensome and not reasonably tailored to the issues in the litigation. [Ex. 2, GO 3].

However, URZ ignores that these requests are both (1) limited only to the Quick Fix

product, and (2) limited to a timeframe of less than three years. The requests are

precisely tailored to the issues in this litigation.




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        URZ’s other “General Objections” are improper for the following reasons:

URZ’s other General Objections                        Reasons objections        lack   merit    and
                                                      should be overruled
a) Spectrum has not made a showing it is              The other parties produced their records in
   entitled to “sensitive financial and other         response without a protective order. If true,
   information” without making a showing              URZ could have resolved this objection by a
   that it has authorization to receive the           protective order. URZ’s counsel, however,
   information [Ex. 2, GO 2];                         refused to meet and confer.

b) terms such as “Quick Fix” and                      URZ sells Quick Fix and knows exactly what it
   “Communication”      are    vague and              is. URZ and its counsel know what
   ambiguous because they don’t provide               communications are, and that term is defined.
   enough information [Ex. 2, GO 4];                  URZ did not object to any portion of that
                                                      definition.

c) the requests do not reasonably limit the January 1, 2020 is very reasonable considering
   time period [Ex. 2, GO 5];               the counterfeiting issue. None of the other
                                            parties responding to the same subpoena topics
                                            objected to this timeframe.

d) the requests seek confidential, proprietary,       URZ did not provide a shred of proof that the
   and trade secret information which will not        information sought is somehow confidential,
   be produced without a protective order [Ex.        proprietary or trade secret in a manner that
   2, GO 6];                                          would prevent production of relevant or require
                                                      a protective order. URZ’s counsel refused to
                                                      meet and confer to explain this boilerplate
                                                      objection

e) the requests seek “not reasonably The requests seek URZ’s business records
   accessible” information [Ex. 2, GO 7]; indisputably within its possession, custody or
                                          control.

f) the   requests     encompass     privileged The requests on their face do not seek
   information [Ex. 2, GO 8];                  privileged documents. If such responsive
                                               documents exist, URZ provided no privilege
                                               log.

g) the requests seek information not in URZ’s The requests on their face seek information in
   possession, custody, or control [Ex. 2, GO URZ’s possession, custody or control.
   9]; and

h) there is no showing of relevance as to As set forth above, the requests are relevant to
   issues at stake in the litigation [Ex. 2, GO obtaining documents pertaining to
   10].                                         counterfeiting, which is against the law.




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Accordingly, URZ’s “General Objections” should be overruled.

        2.        URZ’s “Specific Objections” are equally meritless.

        In its “Specific Objections,” URZ merely duplicates its invalid “General

Objections.” [Ex. 2, at 3]. The “Specific Objections” fail to provide any additional

specificity to what is presented in the “General Objections.” The “Specific Objections”

are repetitive boilerplate which simply parrot the specific language of each request into

the objection to that request. The Specific Objections should be overruled.

                  a.    All Communications since 1/1/2020 with any suppliers or sellers of
                        Quick Fix regarding Quick Fix.

        URZ objects to Request No. 1 as overbroad and unduly burdensome because it

seeks “[a]ll Communications since 1/1/2020 with any suppliers or sellers” without

making a showing that the demand cannot be reasonably narrowed to the issues of the

litigation, that terms such as “Communications,” “Quick Fix,” “suppliers,” and “sellers”

are vague and ambiguous, that the request seeks confidential and proprietary information

and “in fact” “seeks” to invade URZ’s privacy, and that URZ does not have authorization

to disclose confidential information of third parties [Ex. 2, Specific Objection (“SO”) 1].

        However, URZ’s objections are baseless. As described above, Request No. 1 is

properly limited in both time and scope to the issues of this litigation. The request seeks

communications over a limited time frame, with parties in specific relationships with

URZ, and with regard a specific product. The terms “Communications” and “Quick Fix”

are defined in the subpoena, and URZ, as a supplier, cannot reasonably assert that it does

not understand the meaning of “supplier” or “seller.” URZ does not identify any type of

confidential or proprietary information, or how Spectrum’s requests “in fact” seek to


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invade URZ’s or other’s privacy. URZ’s supposed lack of “authorization” to disclose

third party confidential information is irrelevant. URZ has never mentioned nor sought a

protective order. Accordingly, URZ’s objections to Request No. 1 should be overruled.

                  b.   All Communications since 1/1/2020 with any customers or buyers of
                       Quick Fix regarding Quick Fix.

        URZ’s objections to Request No. 2 are identical to its objections to Request No. 1,

with the exception of its objection that the terms “customers” and “buyers” are vague and

ambiguous. [Ex. 2, at SO 2]. URZ’s assertion that it, a supplier, cannot understand the

meaning of “customers” and “buyers” of Quick Fix is disingenuous. URZ’s objections to

Request No 2. should be overruled for the same reasons.

                  c.   All internal Communications since 1/1/2020 regarding Quick Fix.

        URZ’s objections to Request No. 3 are likewise identical to its objections to

Requests Nos. 1 and 2, with the exception that URZ claims “Internal Communications” is

vague and ambiguous. [Ex. 2, at SO 3]. “Communications” is a defined term. “Internal

Communications” is clear and unambiguous; the request seeks the communications sent

internally at URZ responsive to the request. URZ’s objections to Request No. 3 should

be overruled for the same reasons that its previous objections should be overruled.

                  d.   All Documents (including Communications) created, modified, sent,
                       or received since 1/1/2020 regarding fake, knock-off, imitation, or
                       counterfeit Quick Fix.

        In response to Request No. 4, URZ repeats the same objections, but now objects

that “fake,” “knock-off,” “imitation,” and “counterfeit” are vague and ambiguous. [Ex. 2,

at SO 4]. The irony of the objection notwithstanding, these plain-language English terms

that are clear and unambiguous, especially in the context of a subpoena issued in a


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trademark infringement and counterfeiting lawsuit. The Court should overrule URZ’s

objections to Request No. 4.

                  e.   All invoices documenting Your sales of Quick Fix since 1/1/2020.

        Here, URZ objects to “Quick Fix” as vague and ambiguous, and re-states its

objections regarding confidentiality and authorization to release third party confidential

information. [Ex. 2, at SO 5]. Again, “Quick Fix” is a defined term denoting a specific

product line and/or mark. URZ provides no explanation of why invoices are confidential

or proprietary to it or third parties. Indeed, URZ’s failure to seek or obtain a protective

order from the Court belies that this information is not confidential or proprietary. The

Court should overrule URZ’s objections to Request No. 5.

                  f.   All invoices documenting Your purchases of Quick Fix since
                       1/1/2020.

        URZ’s objection to Request No. 6 is verbatim of its objection to Request No. 7,

and should be overruled for the same reasons.

                  g.   Ten randomly selected samples of Quick Fix from Your inventory for
                       inspection.

        URZ’s objection to Request No. 7 characterizes “ten random samples” of a

specific product as a “broad demand,” objects that “randomly selected samples” and

“inventory” are vague and ambiguous, then repeats the same confidentiality objections.

[Ex. 2, at SO 7].       Ten samples of a specific “Quick Fix” product can hardly be

characterized as a broad demand. Instead, it is incredibly specific and narrowly tailored

to the key issue in this case – whether or not the “Quick Fix” sold by the subpoenaed

parties is a counterfeit of the “Quick Fix” sold by Spectrum. Further, a supplier such as



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URZ cannot reasonably claim that it does not understand the terms “randomly selected

samples” or “inventory.” The Court should overrule URZ’s objections to Request No. 7.

                  h.   All Communications with Royal Fragrances, City Supply Wholesale,
                       or Saif Ali regarding Quick Fix, imitation Quick Fix, or this lawsuit.

        Aside from the same objections it repeats in response to previous requests, URZ

objects to Request No. 8 that “all communications” is overbroad and unduly burdensome

because it is not limited in time. URZ also objects that terms such as “communications,”

“Royal Fragrances,” “City Supply Wholesale,” “Saif Ali,” and “Quick Fix” are vague

and ambiguous in the absence of clarifying definitions. URZ then repeats its standard

confidentiality objections. [Ex. 2, at SO 8]. While “all communications” is not limited in

time per se, it is reasonably tailored and limited specifically to three different parties, and

limited to those communications regarding Quick Fix, an imitation Quick Fix, or the

lawsuit. Royal Fragrances and City Supply wholesale are business entities with whom

URZ does business. Salif Ali is an individual with whom URZ does business. “Quick

Fix” and “communications” are defined terms in the subpoena. URZ cannot realistically

deny an understanding of the identities of those persons and entities with whom it does

business and cannot realistically object that defined terms are not defined enough. URZ’s

objections to Request No. 8 should be overruled.

                                      CONCLUSION

        As described above, none of URZ’s objections have merit.             Each of URZ’s

requests seeks information directly relevant to the issues in this counterfeiting lawsuit,

reasonably tailored in time and/or scope, and are calculated to lead to the discovery of




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admissible evidence. Spectrum respectfully requests that the Court overrule each of

URZ’s objections and grant this Motion to Compel.

DATED: May 2, 2023                     Respectfully submitted,

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                                       ATTORNEYS FOR PLAINTIFF
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                          CERTIFICATE OF CONFERENCE

       I certify that Spectrum, through counsel, has attempted to conference with URZ, through
counsel, on several occasions to resolve this discovery dispute without the need for Court
intervention. Upon receipt of URZ’s objections, counsel for Spectrum sent numerous emails
seeking a conference, including by e-mail on March 23 (Kasi Chadwick), March 28 (Kasi
Chadwick), April 4 (Kasi Chadwick), April 5 (David Cupar), and April 7 (Kasi Chadwick).
Counsel for URZ offered only the morning of April 7, Good Friday, for a conference. While
lead counsel, Mr. Cupar, was not available at that time, both Courtney Ervin and Kasi Chadwick
made themselves available. During the telephone conference, at URZ’s request, Spectrum
agreed to seek entry of a protective order and to supplement the subpoena to clarify that the
information sought was limited to sales of Spectrum’s product or any counterfeit of it. Spectrum
understood that URZ would then comply with the subpoena. URZ still has not complied with
the subpoena and has not responded to Spectrum’s follow-up request for a further conference,
including by e-mail on April 10 (Kasi Chadwick and Courtney Ervin) and April 24 (David
Cupar). Therefore, URZ should be considered opposed to the relief requested in this motion.

                                            /s/ Courtney Ervin
                                            Courtney Ervin


                          CERTIFICATE OF WORD COUNT

       In accordance with Section 18(c) of the Court’s procedures, I certify that this
document contains 3,381 words, exclusive of the caption, signature block and certificates
of service and conference.

                                            /s/ Courtney Ervin
                                            Courtney Ervin


                              CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2023, this document was served to the parties of
record via the Court’s ECF noticing system and the attorney of record for non-party URZ
has been served via email and via first class mail, postage prepaid.


                                            /s/ Courtney Ervin
                                            Courtney Ervin




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